                       Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 1 of 25

Fill in this information to identify the case:

United States Bankruptcy Court for the:

Southern                     District of Texas
                                           (State)

Case number (if known):                                    Chapter 11                                                                   ☐ Check if this is an
                                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                              Sable Permian Resources, LLC



2.    All other names debtor used                PRES Holdings, LLC
      in the last 8 years                        AEPB Holdings, LLC
      Include any assumed names, trade
      names, and doing business as
      names



3.    Debtor’s federal Employer                  4     7      –     2   0    9   5       1   7    2
      Identification Number (EIN)



4.    Debtor’s address                                     Principal place of business                          Mailing address, if different from
                                                                                                                principal place of business
                                                           700          Milam Street
                                                           Number       Street                                  Number      Street

                                                           Suite 3100
                                                                                                                P.O. Box

                                                           Houston                     TX    77002
                                                           City                        State ZIP Code           City                   State   ZIP Code

                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business

                                                           Harris County
                                                           County                                               Number      Street



                                                                                                                City                   State   ZIP Code



 5.   Debtor’s website (URL)             https://www.sableres.com




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 1
                     Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 2 of 25
 Debtor    Sable Permian Resources, LLC                                          Case number (if known)
           Name




 6.   Type of debtor                      ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          ☐ Partnership (excluding LLP)
                                          ☐ Other. Specify:


                                          A. Check one:
 7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          ☒ None of the above

                                          B. Check all that apply:

                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           2       1        1       1


 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      ☐ Chapter 7
                                          ☐ Chapter 9
                                          ☒ Chapter 11. Check all that apply:
      A debtor who is a “small business          ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      debtor” must check the first sub-
                                                           aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      box. A debtor is defined in
                                                           affiliates) are less than § 2,725,625. If this sub-box is selected, attach the most
      § 1182(1) who elects to proceed
                                                           recent balance sheet, statement of operations, cash-flow statement, and federal
      under subchapter V of chapter 11
                                                           income tax return or if any of these documents do not exist, follow the procedure in
      (whether or not the debtor is a
                                                           11 U.S.C. § 1116(1)(B).
      “small business debtor) must
      check the second sub-box.                        ☐   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), it aggregate
                                                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                           less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                           Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                           statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                           § 1116(1)(B).
                                                       ☐   A plan is being filed with this petition.
                                                       ☐   Acceptances of the plan were solicited prepetition from one or more classes of
                                                           creditors, in accordance with 11 U.S.C. § 1126(b).
                                                       ☐   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                           Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                           Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                           for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                       ☐   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                           12b-2.
                                          ☐ Chapter 12




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 3 of 25
 Debtor      Sable Permian Resources, LLC                                             Case number (if known)
             Name



 9.   Were prior bankruptcy                    ☒ No
      cases filed by or against the
      debtor within the last 8                 ☐ Yes.       District                            When                     Case number
      years?                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
                                                            District                            When                     Case number
      separate list.
                                                                                                        MM / DD / YYYY

10.   Are any bankruptcy cases
      pending or being filed by a              ☐ No
      business partner or an
      affiliate of the debtor?                 ☒ Yes.       Debtor     See Attachment 1                           Relationship   Affiliate

      List all cases. If more than 1, attach                District   Southern District of Texas                 When           Same day
      a separate list.                                                                                                           MM / DD / YYYY
                                                            Case number, if known


11.   Why is the case filed in this            Check all that apply:
      district?
                                               ☒   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                               ☒   A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have ☒ No
      possession of any real
      property or personal property ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                  Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         ☐   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                             What is the hazard?
                                                         ☐   It needs to be physically secured or protected from the weather.
                                                         ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                             attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                             assets or other options).
                                                         ☐   Other

                                                         Where is the property?
                                                                                       Number       Street




                                                                                       City                                          State     ZIP Code


                                                         Is the property insured?

                                                         ☐ No

                                                         ☐ Yes.        Insurance agency

                                                                       Contact name

                                                                       Phone




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
                        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 4 of 25
 Debtor     Sable Permian Resources, LLC                                          Case number (if known)
            Name



            Statistical and administrative information

13.   Debtor’s estimation of            Check one:
      available funds
                                        ☒   Funds will be available for distribution to unsecured creditors.
                                        ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                            creditors.


14.   Estimated number of               ☐ 1-49                                       ☐ 1,000-5,000                        ☐ 25,001-50,000
      creditors                         ☐ 50-99                                      ☐ 5,001-10,000                       ☐ 50,001-100,000
                                        ☐ 100-199                                    ☒ 10,001-25,000                      ☐ More than 100,000
                                        ☐ 200-999

15. Estimated      assets               ☐ $0-$50,000                                 ☐ $1,000,001-$10 million             ☐ $500,000,001-$1 billion
                                        ☐ $50,001-$100,000                           ☐ $10,000,001-$50 million            ☒ $1,000,000,001-$10 billion
                                        ☐ $100,001-$500,000                          ☐ $50,000,001-$100 million           ☐ $10,000,000,001-$50 billion
                                        ☐ $500,001-$1 million                        ☐ $100,000,001-$500 million          ☐ More than $50 billion

16. Estimated      liabilities          ☐ $0-$50,000                                 ☐ $1,000,001-$10 million             ☐ $500,000,001-$1 billion
                                        ☐ $50,001-$100,000                           ☐ $10,000,001-$50 million            ☒ $1,000,000,001-$10 billion
                                        ☐ $100,001-$500,000                          ☐ $50,000,001-$100 million           ☐ $10,000,000,001-$50 billion
                                        ☐ $500,001-$1 million                        ☐ $100,000,001-$500 million          ☐ More than $50 billion

            Request for Relief, Declaration, and Signatures

WARNING – Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
          $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
17. Declaration   and signature of      petition.
      authorized representative of      I have been authorized to file this petition on behalf of the debtor.
      debtor
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.
                                        I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on       06 / 25 / 2020
                                                          MM / DD / YYYY


                                                 /s/ Gregory Patrinely                                    Gregory Patrinely
                                                  Signature of authorized representative of debtor         Printed name


                                        Title      Executive Vice President; Chief Financial Officer




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                      Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 5 of 25
 Debtor    Sable Permian Resources, LLC                                        Case number (if known)
           Name




18. Signature     of attorney
                                           /s/ Timothy A. (“Tad”) Davidson II                      Date     06 / 25 / 2020
                                            Signature of attorney for debtor                                 MM / DD / YYYY


                                            Timothy A. (“Tad”) Davidson II
                                            Printed Name

                                            Hunton Andrews Kurth LLP
                                            Firm Name
                                            600          Travis Street, Suite 4200
                                            Number       Street
                                            Houston                                                     TX              77002
                                            City                                                        State           Zip Code
                                            (713) 220-4200                                              taddavidson@huntonak.com
                                            Contact phone                                               Email address
                                            24012503                                                    Texas
                                            Bar Number                                                  State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
         Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 6 of 25




                       ATTACHMENT 1 TO VOLUNTARY PETITION

         On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
will file or has filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101–1532, in the United States Bankruptcy Court for the Southern District of
Texas, Houston Division (the “Court”). Contemporaneously with the filing of their voluntary
petitions, the Debtors are filing a motion with the Court requesting that their chapter 11 cases be
consolidated for procedural purposes only and jointly administered.

                               Debtor Name                                         Federal EIN
                 Sable Permian Resources, LLC                                      XX-XXXXXXX
                 SPR Stock Holdings, LLC                                           XX-XXXXXXX
                 Sable Permian Resources Operating, LLC                            XX-XXXXXXX
                 SPR Holdings, LLC                                                 XX-XXXXXXX
                 SPRH Finance Corporation                                          XX-XXXXXXX
                 Sable Permian Resources Corporation                               XX-XXXXXXX
                 Sable Permian Resources Finance, LLC                              XX-XXXXXXX
                 SPR Finance Corporation                                           XX-XXXXXXX
                 Sable Land Company, LLC                                           XX-XXXXXXX




                      Attachment 1 to Voluntary Petition for Non-Individuals Filing for Bankruptcy
          Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 7 of 25




                                  Sable Permian Resources, LLC
                                     SPR Stock Holdings, LLC
                             Sable Permian Resources Operating, LLC
                                        SPR Holdings, LLC
                                    SPRH Finance Corporation
                               Sable Permian Resources Corporation
                              Sable Permian Resources Finance, LLC
                                     SPR Finance Corporation
                                    Sable Land Company, LLC

                      Omnibus Unanimous Written Consent in Lieu of a Meeting

                                                June 24, 2020

The undersigned, constituting all of the members of the board of directors or board of managers,
managing members or stockholders, as applicable (the “Governing Body”), for each of the
entities listed above (each a “Company,” and together, the “Companies”), in accordance with
each Company’s bylaws, operating agreements and other Governing Documents1 (as applicable),
hereby consent to and adopt the following resolutions as the action of the Governing Body by
written consent in lieu of a meeting pursuant to applicable law and such Company’s bylaws or
operating agreement, as applicable, and hereby direct that this written consent be delivered to the
Companies for inclusion in their minutes or filing with their corporate records.

                                    ⁎       ⁎        ⁎      ⁎       ⁎

Approval of Bankruptcy Filing

       WHEREAS, the Governing Body has reviewed and considered the materials presented
by the management and financial and legal advisors of the Companies regarding the potential
present and future liabilities of the Companies, the strategic alternatives available to them, and
the impact of the foregoing on the Companies’ businesses;

       WHEREAS, the Governing Body has consulted with the management and financial and
legal advisors of the Companies and has considered fully each of the strategic alternatives
available to the Companies;

         WHEREAS, the Companies’ management and financial and legal advisors have
recommended to each Governing Body that the Companies commence cases under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”);

       WHEREAS, the Governing Bodies have reviewed and considered the materials
presented by the management and financial and legal advisors of the Companies regarding the
potential present and future liabilities of the Companies, the strategic alternatives available to the
Companies, and the impact of the foregoing on the Companies’ businesses; and
1
  “Governing Documents” are each Company’s operative governance documents, including their respective LLC
agreements, corporate charters or other such governing agreements, executive employment agreements or other
material agreements concerning the governance of any of the Companies.


US-DOCS\116640363.3
        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 8 of 25




        WHEREAS, the Governing Body has determined that it is in the Companies’ best
interests to seek relief under chapter 11 of the Bankruptcy Code.

       NOW, THEREFORE, BE IT RESOLVED, that the Governing Body hereby authorizes
and approves the commencement of cases under chapter 11 of the Bankruptcy Code by each of
the Companies on June 25, 2020 (the “Chapter 11 Cases”);

        RESOLVED FURTHER, that each officer of each of the Companies (each, an
“Authorized Person”) be, and each of them hereby is, acting singly, authorized to take all such
steps and do all such acts and things as they shall deem necessary or advisable to commence the
Chapter 11 Cases, including, but not limited to, executing, verifying, and delivering voluntary
petitions in the name of the Companies under chapter 11 of the Bankruptcy Code and causing the
same to be filed with the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”), on June 25, 2020, together with the execution, delivery and filing of
any other documents and customary first day pleadings and the taking of any and all other
actions necessary or desirable to make, execute, verify, and file all applications, certificates,
documents, or other instruments and to do any and all acts and things that are necessary,
advisable, or appropriate in order to carry out the intent and purpose of any and all of the
foregoing resolution to commence Chapter 11 Cases for the Companies on June 25, 2020;

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, with full power of delegation, on behalf of and in the name of the
Companies, to execute, verify, and/or file, or cause to be filed and/or executed or verified (or
direct others to do so on their behalf as provided herein), and to supplement, all necessary or
appropriate documents needed to commence the Chapter 11 Cases, including, without limitation,
petitions, affidavits, schedules, motions, lists, applications and customary first day pleadings,
each in form and substance substantially the same as the first day pleadings provided to counsel
for the members of the Governing Body, each in connection with the commencement of the
Chapter 11 Cases, the DIP Facility (as defined below), or any cash collateral usage contemplated
hereby or thereby and each subject to Board approval to the extent required by the Governing
Documents;

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to employ and retain
the law firms of Latham & Watkins LLP (“Latham”) and Hunton Andrews Kurth LLP (“HAK”)
to act as general counsel for the Companies in connection with the Chapter 11 Cases, subject to
the terms of their respective engagement letters with the Companies dated as of March 24, 2020
(Latham) and March 30, 2020 (HAK), which engagement letters have not been since amended,
and approval of such retentions and the terms of such retentions by the Bankruptcy Court;

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to employ and retain
the law firm of Katten Muchin Rosenman LLP to act as counsel for (i) Sable Land Company,
LLC, at the sole discretion of Bobby Reeves in his capacity as independent manager of Sable
Land Company, LLC, and (ii) Sable Permian Resources Finance, LLC, at the sole direction of
Peter Kravitz and Richard Alario in their capacities as independent managers of Sable Permian
Resources Finance, LLC, in connection with the Chapter 11 Cases, subject to the terms of its


                                               2
        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 9 of 25




engagement letter with the Companies dated as of April 21, 2020, which engagement letter has
not been since amended;

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to employ and retain
Alvarez & Marsal North America, LLC as financial advisor to the Companies in connection with
the Chapter 11 Cases, subject to the terms of its engagement letter with the Companies dated as
of March 30, 2020, which engagement letter has not been since amended, and approval of such
retention and the terms of such retention by the Bankruptcy Court;

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to employ and retain
Evercore Group L.L.C. as investment banker to the Companies in connection with the Chapter
11 Cases, subject to the terms of its engagement letter with Latham (on behalf of the Companies)
dated as of March 24, 2020, which engagement letter has not been since amended, and approval
of such retention and the terms of such retention by the Bankruptcy Court; and

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to employ and retain
Prime Clerk LLC as claims, noticing, and solicitation agent and administrative advisor for the
Companies in their Chapter 11 Cases, subject to the terms of its engagement letter with the
Companies dated as of April 8, 2020, which engagement letter has not been since amended, and
approval of such retention and the terms of such retention by the Bankruptcy Court.

Approval of DIP Financing

        WHEREAS, in order to provide postpetition financing for the Companies in connection
with such Chapter 11 Cases, Sable Land Company, LLC (the “Borrower”) plans to enter into
that certain debtor-in-possession credit facility (as amended, restated, amended and restated,
supplemented or otherwise modified from time to time, the “DIP Credit Agreement,” and the
lending facility established thereunder, the “DIP Facility”) among the Borrower, certain of the
other Companies, each lender from time to time party thereto (the “Lenders”), JPMorgan Chase
Bank, N.A., as administrative agent (in such capacity, or any successor in such capacity, the
“Administrative Agent”), and any other parties from time to time party thereto, providing for a
credit facility in an initial aggregate principal amount of up to $150,000,000 for the making of
loans and letters of credit as provided therein and to consent to the terms of an interim debtor-in-
possession financing order (the “Interim DIP Order”), which DIP Credit Agreement and Interim
DIP Order shall be in form and substance substantially identical to the form of DIP Credit
Agreement and form of Interim DIP Order attached hereto as Exhibits A and B respectively;

         WHEREAS, as a condition to the extension of loans under the DIP Facility, the Lenders
have required that the Borrower unwind certain swap agreements to which it is a party (the
“Existing Swap Unwind”) and apply the proceeds therefrom to the prepayment of certain
prepetition obligations (the “Swap Proceeds Prepayment”), in each case as described in greater
detail in the DIP Facility;




                                                 3
        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 10 of 25




         WHEREAS, the Companies’ managers and advisors have advised the Governing Body
that in connection with the commencement of any such Chapter 11 Cases, it would be, advisable,
fair and in the best interest of (i) the Borrower and any other applicable Company to enter into
the DIP Facility and the fee letter agreement in connection therewith (including, for the
avoidance of doubt, the indemnity and reimbursement obligations thereunder) (the “Fee Letter”),
(ii) the Borrower and any other applicable Company to (x) guarantee the obligations under the
DIP Facility (the “Guarantee”) and/or (y) pledge to the Administrative Agent or grant to the
Administrative Agent, subject to the terms of the DIP Facility and the other Credit Documents
(as defined below), a lien or mortgage on, or security interest in, all or any portion of such
Company’s assets, including real and personal property, intellectual property and all or any
portion of the issued and outstanding equity of any subsidiaries of such Company (except for the
“Excluded Assets,” as defined in the DIP Credit Agreement), in each case, whether now owned
or hereafter acquired (the foregoing clause (y), collectively, the “Security Grant”), (iii) the
Borrower to complete the Existing Swap Unwind and the Swap Proceeds Prepayment, and (iv)
the Borrower and any other applicable Company to enter into all acts, acknowledgments,
affidavits, agreements, certificates, documents, filings, instruments, letters, notices, recordings,
statements, transactions, waivers or undertakings related to the DIP Facility, the Fee Letter, the
Guarantee, the Security Grant, the Existing Swap Unwind and/or the Swap Proceeds Prepayment
to which such Company is a party from time to time (including, without limitation, subordination
agreements, mortgages, deeds of trust, trust deeds, collateral access agreements, landlord
waivers, bailee letters, common carrier letters, warehouse letters (or any similar agreement to any
of the foregoing), security agreements, pledge agreements, guaranties, control agreements,
lockbox agreements, stock powers, allonges, assignments, financing statements, promissory
notes, indorsements, notices of borrowing, borrowing base certificates, requests for advances,
requests for letters of credit, any fee letters, swap agreements (including, for the avoidance of
doubt and without limitation, any agreements with any swap providers, including any ISDA
Master Agreements and any schedules thereto or confirmation thereof), novation agreements,
payoff letters, post-closing agreements and any other acts, affidavits, agreements, certificates,
documents, filings, instruments, notices, recordings, transactions, waivers or undertakings
required by the DIP Credit Agreement, the Fee Letter, the Guarantee, the Security Grant, the
Existing Swap Unwind and/or the Swap Proceeds Prepayment and acts, acknowledgments,
affidavits, agreements, certificates, documents, filings, instruments, letters, notices, recordings,
statements, transactions, waivers or undertakings relating to any of the foregoing) (collectively,
the “Ancillary Documents” and together with the DIP Credit Agreement and the Interim DIP
Order, the “Credit Documents”) in connection with the DIP Facility, in each case subject to the
entry of appropriate orders by the Bankruptcy Court authorizing the Companies to enter into the
DIP Facility and to execute and deliver such Credit Documents;

        WHEREAS, the Governing Body has determined, based on the advice of the
Companies’ management and advisors, that each Company’s entry into the Credit Documents to
which it is a party (i) is necessary or convenient to the conduct, promotion or attainment of such
Company’s business and (ii) may reasonably be expected to benefit such Company, directly or
indirectly;

       WHEREAS, each Company is receiving benefits in consideration of its entry into the
Credit Documents to which it is a party, including, without limitation, access to additional
working capital during the postpetition period; and



                                                 4
        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 11 of 25




        WHEREAS, the Lenders are extending credit in reliance, in part, on each Company’s
entry into the Credit Documents to which it is a party.

        NOW, THEREFORE, BE IT RESOLVED, that the Governing Body finds that, in
connection with such Chapter 11 Cases, the incurrence of the liabilities and obligations arising
from each Credit Document by each Company to which it is a party (i) is necessary and
convenient to the conduct, promotion and attainment of the business of such Company, (ii) may
reasonably be expected to benefit such Company, directly or indirectly and (iii) is advisable, fair
and in the best interests of such Company;

        RESOLVED FURTHER, that, in connection with such Chapter 11 Cases each
Company be, and hereby is, authorized to enter into and incur indebtedness under and directed to
execute, deliver, and perform its obligations under the Credit Documents to which it is a party
and to take all actions contemplated thereby, including the Guarantee and the Security Grant;

        RESOLVED FURTHER, that, in connection with such Chapter 11 Cases, each of the
Authorized Persons acting alone or in combination, is hereby authorized, directed and
empowered on behalf of each Company to do or cause to be done all acts or things necessary to
consummate the transactions required by the Credit Documents to which it is a party or to cause
such Company to perform its obligations as contemplated by the Credit Documents to which it is
a party; provided that the terms of such Credit Documents and such actions are substantially
consistent in all material respects with the DIP Credit Agreement and Interim DIP Order attached
hereto as Exhibits A and B respectively;

       RESOLVED FURTHER, that, in connection with such Chapter 11 Cases, the
Authorized Persons be, and each of them acting alone hereby is, authorized, directed and
empowered, in the name of and on behalf of each Company, to pay, or cause to be paid, the fees,
expenses and other obligations as contemplated in the DIP Facility and any other Credit
Document to which it is party;

        RESOLVED FURTHER, that, in connection with such Chapter 11 Cases, each
Authorized Person be, and hereby is, authorized and empowered, in the name of and on behalf of
each Company, to grant and continue to grant a security interest in, pledge or otherwise
encumber, as security for the obligations under the DIP Facility and the other Credit Documents,
the assets of each Company (except for the Excluded Assets as defined in the DIP Credit
Agreement) as any Authorized Person shall deem necessary or appropriate, subject to the terms
set forth in the DIP Facility, the DIP Credit Agreement, the Interim DIP Order and the other
Credit Documents;

        RESOLVED FURTHER, that, in connection with such Chapter 11 Cases, each
Authorized Person is hereby authorized, directed and empowered to do or cause to be done all
such acts or things and to execute and deliver, or cause to be executed and delivered, under seal
or otherwise, all such Credit Documents or other acts, acknowledgments, affidavits, agreements,
certificates, documents, filings, instruments, letters, notices, recordings, statements, waivers or
undertakings (including, without limitation, any and all certificates and notices required to be
given or made under the terms, conditions or provisions of any of the agreements, documents or
instruments executed on behalf of any Company), in the name and on behalf of any Company



                                                5
        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 12 of 25




required by the Credit Documents to which such Company is a party and to effectuate or carry
out the purposes and intent of the foregoing resolutions and to perform the obligations of any
Company under all acts, acknowledgments, affidavits, agreements, certificates, documents,
filings, instruments, letters, notices, recordings, statements, transactions, waivers or undertakings
executed or delivered on behalf of any Company, as applicable, required by the Credit
Documents to which such Company is a party, in each case subject to Board approval as required
under the Governing Documents; provided that the terms of such Credit Documents are
substantially consistent in all material respects with the DIP Credit Agreement and Interim DIP
Order attached hereto as Exhibits A and B respectively;

        RESOLVED FURTHER, that, to the extent any Company serves as (i) the sole member
or manager, (ii) the managing member, (iii) the general partner or (iv) otherwise as the governing
body (the “Controlling Party”), in each case, of any subsidiary of such Company (the
“Controlled Party”), each Authorized Person of the Controlling Party, any one of whom may act
without the joinder of any of the others, is hereby authorized in the name and on behalf of the
Controlling Party (acting for such Controlled Party in the capacity set forth above, as applicable)
to take all of the actions on behalf of such Controlled Party that an Authorized Person is herein
authorized to take on behalf of such Controlling Party, in each subject to Board approval as
required under the Governing Documents;

        RESOLVED FURTHER, that, in connection with such Chapter 11 Cases, each
Authorized Person is hereby authorized, directed and empowered to do or cause to be done all
such acts or things and to execute and deliver, or cause to be executed and delivered, under seal
or otherwise, acting alone or in combination, all such Credit Documents or other acts,
acknowledgments, affidavits, agreements, certificates, documents, filings, instruments, letters,
notices, recordings, statements, transactions, waivers or undertakings (including, without
limitation, any and all certificates and notices required to be given or made under the terms,
conditions or provisions of any of the agreements, documents or instruments executed
therewith), in the name and on behalf of any Company and on behalf of each of such Company’s
direct or indirect subsidiaries, required by the Credit Documents to which such Company is a
party and to perform the obligations of such subsidiary under all acts, acknowledgments,
affidavits, agreements, certificates, documents, filings, instruments, letters, notices, recordings,
statements, or undertakings required by the Credit Documents to be executed or delivered on
behalf of such subsidiary in connection with the Credit Documents to which such subsidiary is a
party, in each case subject to Board approval as required under the Governing Documents;
provided that the terms of such Credit Documents are substantially consistent in all material
respects with the DIP Credit Agreement and Interim DIP Order attached hereto as Exhibits A
and B respectively; and

        RESOLVED FURTHER, that, in connection with the Chapter 11 Cases, each
Authorized Person be, and hereby is, authorized to permit the Administrative Agent to file any
financing statements or other filing or recording documents or instruments against any Company
in connection with the Security Grant as such Authorized Person shall deem necessary and
appropriate and such financing statements or other filing or recording documents or instruments
may, without limitation, include an “all assets” collateral description (including, without
limitation, “all assets”, “all property”, “all assets of debtor”, “all property of the debtor”, or
words of similar effect).



                                                 6
        Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 13 of 25




       Payment of Legal Fees

       NOW, THEREFORE, BE IT RESOLVED, that within one business day of the
adoption of this Omnibus Unanimous Written Consent and in any event, prior to the filing of the
Chapter 11 Cases, the Companies shall pay or reimburse the reasonable and documented legal
fees and expenses of each member of the Governing Bodies.

       General Implementation Authority

       NOW, THEREFORE, BE IT RESOLVED that any Authorized Person’s execution of
any document or performance of any act, in each case, authorized by the foregoing resolutions or
any document executed or act performed, in each case, by any Authorized Person in the
accomplishment of any action or actions so authorized, is (or shall become upon delivery) the
enforceable and binding act and obligation of the Companies, as applicable, without the
necessity of the signature or attestation of any other officer or representative of the Companies as
applicable;

        RESOLVED FURTHER, that all acts, acknowledgments, affidavits, agreements,
certificates, documents, filings, instruments, letters, notices, recordings, statements, transactions,
waivers or undertakings taken (or not taken) by an Authorized Person, or any other person
authorized to act by an Authorized Person, prior to the adoption of these resolutions by any
officer or representative of the Companies that are consistent with the foregoing resolutions are
hereby consented to, adopted, ratified, confirmed, approved and authorized in all respects by the
Governing Body; and

        RESOLVED FURTHER, that notwithstanding the delegation of authorities to
Authorized Persons or any other provision of these resolutions, except as expressly provided
herein in connection with commencement of the Chapter 11 Cases and the Company’s entry into
the DIP Facility no such Authorized Person shall have the authority to undertake any other
action, file any other pleading or enter into any amendment, amendment and restatement
(including, but not limited to, any amendment or amendment and restatement of the DIP Credit
Documents or the Prepetition Credit Agreement as defined in the DIP Credit Agreement),
compromise, consent, consolidation, extension for any period, increase, rearrangement, renewal,
replacement, restatement, retirement, substitution, supplement, waiver or other modification in
respect of any term, condition or provision of the Credit Documents or to which any Company is
a party except in compliance with the terms and conditions of the Governing Documents
including, where required by such documents the further approval of the appropriate Governing
Body of the applicable Company (including, but not limited to, requiring the Board of Managers
of Sable Permian Resources LLC’s consent to an assignment of any of the DIP Loans or
Prepetition Loans (as defined in the DIP Credit Agreement) in all circumstances where the
Companies’ consent to such an assignment is required under the DIP Credit Agreement) or the
Prepetition Credit Agreement.

                                     [Signature Pages Follow]




                                                  7
       Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 14 of 25




        IN WITNESS WHEREOF, the undersigned, being all of the directors, managers or
stockholders, as applicable, of each Company, hereby consent to the actions set forth herein
effective as of the date first set forth above.




                                              James C. Flores
                                              Manager of Sable Permian Resources, LLC,
                                              Sable Permian Resources Finance, LLC, and
                                              Sable Land Company, LLC




                                              John T. Raymond
                                              Manager of Sable Permian Resources, LLC,
                                              Sable Permian Resources Finance, LLC, and
                                              Sable Land Company, LLC




                                              Jeffrey A. Ball
                                              Manager of Sable Permian Resources, LLC,
                                              Sable Permian Resources Finance, LLC, and
                                              Sable Land Company, LLC




                                              Laura L. Tyson
                                              Manager of Sable Permian Resources, LLC,
                                              Sable Permian Resources Finance, LLC, and
                                              Sable Land Company, LLC




                                              Shaia Hosseinzadeh
                                              Manager of Sable Permian Resources, LLC,
                                              Sable Permian Resources Finance, LLC, and
                                              Sable Land Company, LLC




                              [Signature Page to Resolutions]
Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 15 of 25




                                  Neal Shear
                                  Manager of Sable Permian Resources, LLC,
                                  Sable Permian Resources Finance, LLC, and
                                  Sable Land Company, LLC




                                  John H. Vaske
                                  Manager of Sable Permian Resources, LLC,
                                  Sable Permian Resources Finance, LLC, and
                                  Sable Land Company, LLC




                                  Richard Alario
                                  Manager of Sable Permian Resources Finance,
                                  LLC




                                  Peter Kravitz
                                  Manager of Sable Permian Resources Finance,
                                  LLC




                                  Robert Reeves
                                  Manager of Sable Land Company, LLC




                   [Signature Page to Resolutions]
Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 16 of 25




                              SABLE PERMIAN RESOURCES, LLC
                              as Managing Member of

                                       SPR STOCK HOLDINGS, LLC

                                       SABLE PERMIAN RESOURCES
                                       OPERATING, LLC

                                       SPR HOLDINGS, LLC


                              By:
                                    Name:    Gregory Patrinely
                                    Title:   Executive Vice President
                                             and Chief Financial Officer



                              SPR HOLDINGS, LLC
                              as sole Stockholder of

                                       SPRH FINANCE CORPORATION

                                       SABLE PERMIAN RESOURCES
                                       CORPORATION


                              By:
                                    Name:    Gregory Patrinely
                                    Title:   Executive Vice President
                                             and Chief Financial Officer



                              SABLE PERMIAN RESOURCES FINANCE,
                              LLC
                              as sole Stockholder of

                                       SPR FINANCE CORPORATION


                              By:
                                    Name:    Gregory Patrinely
                                    Title:   Executive Vice President
                                             and Chief Financial Officer




                   [Signature Page to Resolutions]
Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 17 of 25




                             Exhibit A

                       DIP Credit Agreement

                       (intentionally omitted)

                       (available upon request)
Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 18 of 25




                             Exhibit B

                        Interim DIP Order

                       (intentionally omitted)

                      (available upon request)
             Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 19 of 25




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                         §   Chapter 11
                                                                   §
    SABLE PERMIAN RESOURCES, LLC, et al.,                          §   Case No. 20-[  ] ([  ])
                                                                   §
                     Debtors.1                                     §   (Joint Administration Requested)
                                                                   §   (Emergency Hearing Requested)

               CONSOLIDATED LIST OF CREDITORS WHO HAVE THE 30 LARGEST
                       UNSECURED CLAIMS AND ARE NOT INSIDERS

            The above-captioned debtors and debtors in possession (collectively, the
    “Debtors”) hereby certify that the Consolidated List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders submitted herewith contains the names and
    addresses of the Debtors’ top 30 unsecured creditors. The list has been prepared from the
    unaudited books and records of the Debtors. The list is prepared in accordance with Fed.
    R. Bankr. P. 1007(d) for filing in the Debtors’ chapter 11 cases. The list does not include
    (i) persons that come within the definition of “insider” set forth in 11 U.S.C. § 101(31) or
    (ii) secured creditors unless the value of the collateral is such that the unsecured deficiency
    places the creditor among the holders of the 30 largest unsecured claims. The information
    contained herein shall not constitute an admission of liability by, nor is it binding on, the
    Debtors. Moreover, nothing herein shall affect the Debtors’ rights to challenge the amount
    or characterization of any claim at a later date. The failure to list a claim as contingent,
    unliquidated or disputed does not constitute a waiver of the Debtors’ rights to contest the
    validity, priority and/or amount of any such claim.




1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Sable Permian Resources, LLC (5172); SPR Stock Holdings, LLC (2065); Sable Permian Resources Operating,
    LLC (3212); SPR Holdings, LLC (3611); SPRH Finance Corporation (1390); Sable Permian Resources Corporation
    (9049); Sable Permian Resources Finance, LLC (6841); SPR Finance Corporation (0359); and Sable Land
    Company, LLC (7101). The location of the Debtors’ main corporate headquarters and the Debtors’ service address
    is: 700 Milam Street, Suite 3100, Houston, TX 77002.
                                  Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 20 of 25



     Fill in this information to identify the case:
     Debtor name: Sable Permian Resources, LLC, et al.,
     United States Bankruptcy Court for the: Southern District of Texas
     Case number (If known): ___________                                                                                                        Check if this is an
                                                                                                                                                 amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
     the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
     include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
     among the holders of the 30 largest unsecured claims.
                                                                                                                                                  Amount of unsecured claim
                                                                                                                                                  If the claim is fully unsecured, fill in only unsecured
                                                                                                                                                  claim amount. If claim is partially secured, fill in total
                                                                                                                                Indicate if claim claim amount and deduction for value of collateral or
      Name of creditor and complete mailing address,           Name, telephone number, and email                                 is contingent, setoff to calculate unsecured claim.
                                                                                                          Nature of the claim
                    including zip code                            address of creditor contact                                   unliquidated, or
                                                                                                                                    disputed      Total claim, if Deduction for Unsecured
                                                                                                                                                   partially           value of          claim
                                                                                                                                                   secured             collateral or
                                                                                                                                                                       setoff
                                                           Attn: Jane Schweiger
   Wilmington Trust, National Association
                                                           Title: Vice President
   50 South Sixth Street                                                                                  7.125% Unsecured
 1                                                         Phone: 612-217-5632                                                                                                             $ 28,039,546.88
   Suite 1290                                                                                              Notes Due 2020
                                                           Email: Jschweiger@Wilmingtontrust.com
   Minneapolis, MN 55402
                                                           Fax: 612-217-5651
     US Well Services LLC                                  Attn: Nathan Houston
     1360 Post Oak Blvd                                    Title: Chief Operating Officer
 2                                                                                                          Trade Payable                                                                  $ 17,545,936.73
     Suite 1800                                            Phone: 304-368-0681
     Houston, TX 77056                                     Email: Nhouston@Uswellservices.com
                                                           Attn: Jeff Miller
                                                           Title: Chairman, President & Chief Executive
     Halliburton
                                                           Officer
 3 3000 N. Sam Houston Pkwy E.                                                                              Trade Payable                                                                  $ 11,608,125.38
                                                           Phone: 281-871-4000
     Houston, TX 77032
                                                           Email: Jeff.Miller@Halliburton.com
                                                           Fax: 281-876-4455
                                                           Attn: Jane Schweiger
     Wilmington Trust, National Association
                                                           Title: Vice President
     50 South Sixth Street                                                                                7.375% Unsecured
 4                                                         Phone: 612-217-5632                                                                                                             $ 9,371,276.25
     Suite 1290                                                                                            Notes Due 2021
                                                           Email: Jschweiger@Wilmingtontrust.com
     Minneapolis, MN 55402
                                                           Fax: 612-217-5651
     Select Energy Services                                Attn: John Schmitz
     1233 West Loop South                                  Title: Chairman
 5                                                                                                          Trade Payable                                                                  $ 4,325,693.71
     Suite 1400                                            Phone: 361-574-7878
     Houston, TX 77027                                     Email: Jschmitz@Selectenergyservices.com
                                                           Attn: Richard D. Hatchett
     WTG Fuels Inc
                                                           Title: President
 6 211 N. Colorado                                                                                          Trade Payable                                                                  $ 1,828,825.87
                                                           Phone: 432-682-4349
     Midland, TX 79701
                                                           Email: Rhatchett@westtexasgas.com
     Archrock Services LP                                  Attn: Brad Childers
     9807 Katy Frwy.                                       Title: President & Chief Executive Officer
 7                                                                                                          Trade Payable                                                                  $ 1,623,238.08
     Suite 100                                             Phone: 281-854-3000
     Houston, TX 77024                                     Email: Contact on File
                                                           Attn: Anuj Sharma
     Pilot Water Solutions LLC
                                                           Title: Chief Executive Officer
 8 301 Main St Suite 1000                                                                                   Trade Payable                                                                  $ 1,202,898.51
                                                           Phone: 225-302-8594
     Baton Rouge, LA 70825
                                                           Email: Asharma@pilotwater.com
                                                           Attn: Scott Jinks
     CSP-Permian LLC
                                                           Title: Director of Operations
 9 221 Bolivar St, Suite 400                                                                                Trade Payable                                                                  $     957,075.84
                                                           Phone: 573-635-2255
     Jefferson City, MO 65101-1574
                                                           Email: sjinks@capitalsandcompany.com
   Gravity Oilfield Services LLC                           Attn: Rob Rice
   3300 N. A Street                                        Title: Chief Executive Officer
10 Building 4                                              Phone: 833-234-4889                              Trade Payable                                                                  $     928,540.73
   Suite 100                                               Email: Rrice@Hanover-Co.com
   Midland, TX 79705                                       Fax: 432-218-7889




Official Form 204                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                      Page 1
                                   Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 21 of 25
Debtor Sable Permian Resources, LLC, et al.                                                                                             Case number (if known)_____________________________________




                                                                                                                                                    Amount of unsecured claim
                                                                                                                                                    If the claim is fully unsecured, fill in only unsecured
                                                                                                                                                    claim amount. If claim is partially secured, fill in total
                                                                                                                                  Indicate if claim claim amount and deduction for value of collateral or
       Name of creditor and complete mailing address,           Name, telephone number, and email                                  is contingent, setoff to calculate unsecured claim.
                                                                                                            Nature of the claim
                     including zip code                            address of creditor contact                                    unliquidated, or
                                                                                                                                      disputed      Total claim, if Deduction for Unsecured
                                                                                                                                                     partially          value of           claim
                                                                                                                                                     secured            collateral or
                                                                                                                                                                        setoff
                                                            Attn: Felix Venegas
    Venegas Construction LLC                                Title: Owner
 11 403 1st Street                                          Phone: 325-392-2902                               Trade Payable                                                                  $     728,078.42
    Ozana, TX 76943                                         Email: venegasconstruction13@yahoo.com
                                                            Fax: 325-392-2792

                                                            Attn: Jim Jarrell
      RS Energy Group Inc
                                                            Title: President & Co-Chief Executive Officer
 12 600 Travis St Ste 750                                                                                     Trade Payable                                                                  $     671,580.00
                                                            Phone: 403-294-9111
      Houston, TX 77002
                                                            Email: Jim.Jarrell@Rseg.com

                                                            Attn: Adam Lasics
      WD Von Gonten Laboratories LLC
                                                            Title: Chief Financial Officer
 13 10496 Old Katy Rd Ste 200                                                                                 Trade Payable                                                                  $     512,646.00
                                                            Phone: 219-924-8670
      Houston, TX 77043
                                                            Email: Adam.Lasics@Wdvglab.com
                                                            Attn: Patty Lopez
      Gate Guard Services LP
                                                            Title: Manager
 14 8620 N New Braunfels Ste 305                                                                              Trade Payable                                                                  $     461,145.02
                                                            Phone: 361-949-6992
      San Antonio, TX 78217
                                                            Email: Patty@Gateguardservices.com
                                                            Attn: Christophe Beck
      Championx LLC
                                                            Title: President & Chief Operating Officer
 15 1601 W Diehl Rd                                                                                           Trade Payable                                                                  $     453,683.60
                                                            Phone: 651-204-7392
      Naperville, IL 60563
                                                            Email: Christophe.Beck@Ecolab.com
                                                            Attn: Cathryn Cope Kessler
      Cathryn Cope Kessler
                                                            Title: Royalty Owner                                                                                                              Not less than
 16 Address on File                                                                                          Revenue Payable        Unliquidated
                                                            Phone: Contact on File                                                                                                           $1,459,213.50
                                                            Email: Contact on File
                                                            Attn: Michael Wirth
      Chevron U S A Inc
                                                            Title: Chief Executive Officer
 17 6001 Bollinger Canyon Road                                                                               Revenue Payable        Unliquidated                                              Undetermined
                                                            Phone: 925-842-1000
      San Ramon, CA 94583
                                                            Email: mkwirth@chevron.com
      University Lands                                      Attn: Mark A. Houser
      The University Of Texas System                        Title: Chief Executive Officer
 18                                                                                                          Revenue Payable        Unliquidated                                              Undetermined
      704 W Dengar                                          Phone: 713-352-3810
      Midland, TX 79705                                     Email: mhouser@utsystem.edu
                                                            Attn: Lynn Gay Weatherby
      Lynn Gay Weatherby
                                                            Title: Royalty Owner
 19 Address on File                                                                                          Revenue Payable        Unliquidated                                              Undetermined
                                                            Phone: Contact on File
                                                            Email: Contact on File
                                                            Attn: Robert L Walker
      Texas Scottish Rite Hospital For Crippled Children
                                                            Title: President & Chief Executive Officer
 20 2222 Welborn Street                                                                                      Revenue Payable        Unliquidated                                              Undetermined
                                                            Phone: 214-559-7602
      Dallas, TX 75219
                                                            Email: Robert.Walker@tsrh.org
                                                            Attn: Thomas M. Beall
      V-F Petroleum Inc                                     Title: Chief Executive Officer
 21 500 W. Texas Ave. Suite 350                             Phone: 432-683-3344                              Revenue Payable        Unliquidated                                              Undetermined
      Midland, TX 79701                                     Email: VFMID@worldnet.att.net
                                                            Fax: 432-683-3352
                                                            Attn: Lee Tillman
      Marathon Oil (West Texas) LP
                                                            Title: Chief Executive Officer
 22 PO Box 732312                                                                                            Revenue Payable        Unliquidated                                              Undetermined
                                                            Phone: 713-629-6600
      Dallas, TX 75373
                                                            Email: ltillman@marathonoil.com
                                                            Attn: Mayberta Kay W Becknell Trust
      Mayberta Kay W Becknell Trust
                                                            Title: Royalty Owner
 23 Address on File                                                                                          Revenue Payable        Unliquidated                                              Undetermined
                                                            Phone: Contact on File
                                                            Email: Contact on File
                                                            Attn: Tom S Bloxom
      Tom S Bloxom
                                                            Title: Royalty Owner
 24 Address on File                                                                                          Revenue Payable        Unliquidated                                              Undetermined
                                                            Phone: Contact on File
                                                            Email: Contact on File




Official Form 204                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                      Page 2
                                    Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 22 of 25
Debtor Sable Permian Resources, LLC, et al.                                                                                         Case number (if known)_____________________________________




                                                                                                                                                Amount of unsecured claim
                                                                                                                                                If the claim is fully unsecured, fill in only unsecured
                                                                                                                                                claim amount. If claim is partially secured, fill in total
                                                                                                                              Indicate if claim claim amount and deduction for value of collateral or
       Name of creditor and complete mailing address,        Name, telephone number, and email                                 is contingent, setoff to calculate unsecured claim.
                                                                                                        Nature of the claim
                     including zip code                         address of creditor contact                                   unliquidated, or
                                                                                                                                  disputed      Total claim, if Deduction for Unsecured
                                                                                                                                                 partially          value of           claim
                                                                                                                                                 secured            collateral or
                                                                                                                                                                    setoff
                                                         Attn: Chris Cotter
      Excalibur Energy Company
                                                         Title: President
 25 925 6th Street Nw # 5                                                                                 Revenue Payable        Unliquidated                                             Undetermined
                                                         Phone: 505-244-1547
      Albuquerque, NM 87102
                                                         Email: chris.cotter@excaliburenergy.co.uk
                                                         Attn: Deborah Bloxom
      Deborah Bloxom
                                                         Title: Royalty Owner
 26 Address on File                                                                                       Revenue Payable        Unliquidated                                             Undetermined
                                                         Phone: Contact on File
                                                         Email: Contact on File
                                                         Attn: James C Nall
      James C Nall
                                                         Title: Royalty Owner
 27 Address on File                                                                                       Revenue Payable        Unliquidated                                             Undetermined
                                                         Phone: Contact on File
                                                         Email: Contact on File
      Kerr Mcgee Oil & Gas Onshore LP                    Attn: Vicki Hollub
      410 17th Street                                    Title: President & Chief Executive Officer
 28                                                                                                       Revenue Payable        Unliquidated                                             Undetermined
      Suite 2410                                         Phone: 303-573-5404
      Denver, CO 80202                                   Email: vicki_hollub@oxy.com
                                                         Attn: Richard Mayer
      Sonora Barnhart Ranches Ltd
                                                         Title: General Partner
 29 515 W Harris Ave                                                                                      Revenue Payable        Unliquidated                                             Undetermined
                                                         Phone: 325-655-6220
      San Angelo, TX 76903
                                                         Email: Contact on File
                                                         Attn: Richard G Mayer
      Richard G Mayer
                                                         Title: Royalty Owner
 30 Address on File                                                                                       Revenue Payable        Unliquidated                                             Undetermined
                                                         Phone: Contact on File
                                                         Email: Contact on File




Official Form 204                                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                     Page 3
          Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 23 of 25




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                                 § Chapter 11
                                                        §
 SABLE PERMIAN RESOURCES, LLC                           § Case No. 20-[  ] ([  ])
                                                        §
                Debtor.                                 § TAX ID NO. XX-XXXXXXX
                                                        §

                          CORPORATE OWNERSHIP STATEMENT

        The following is a list of entities that directly or indirectly own 10% or more of any class
of the above-captioned debtor’s equity interests. This list has been prepared in accordance with
Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1 for filing in this chapter 11 case.

                                             Shareholder
                                  EMG PRES Equity Holdings, LLC
                                  EMG Fund IV Sable Holdings, LLC
                               OnyxPoint Permian Equity Aggregator LLC
                               OnyxPoint Permian Preferred Holdings LLC
          Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 24 of 25




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                               § Chapter 11
                                                      §
 SABLE PERMIAN RESOURCES, LLC                         § Case No. 20-[  ] ([  ])
                                                      §
                  Debtor.                             § TAX ID NO. XX-XXXXXXX
                                                      §

                             LIST OF EQUITY SECURITY HOLDERS

       The following is a list of the above-captioned debtor’s equity security holders. This list
has been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11
case.

         Equity Holder                         Address                       Ownership
      PRES New Equity, LLC            700 Milam Street, Suite 3100             81%
                                          Houston, TX 77002
          PRES Initial Capital        700 Milam Street, Suite 3100              19%
           Aggregator, LLC                Houston, TX 77002
                    Case 20-33193 Document 1 Filed in TXSB on 06/25/20 Page 25 of 25

 Fill in this information to identify the case and this filing:

 Debtor Name        Sable Permian Resources, LLC

 United States Bankruptcy Court for the Southern District of Texas

 Case number (if known):




Official Form 202
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership, or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

         ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ☐     Schedule H: Codebtors (Official Form 206H)

         ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         ☐     Amended Schedule ___

         ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ☒     Other document that requires a declaration Debtor’s List of Equity Security Holders and Statement of Corporate Ownership




         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on 06 / 25 / 2020                                       /s/ Gregory Patrinely
                         MM/DD/YYYY                                         Signature of individual on behalf of debtor


                                                                            Gregory Patrinely
                                                                            Printed name

                                                                            Executive Vice President; Chief Financial Officer
                                                                            Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
